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8                           UNITED STATES DISTRICT COURT
9                          CENTRAL DISTRICT OF CALIFORNIA
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11     ROBERT GUILLORY,                      Case No. 2:23-cv-00776-FLA (RAOx)
                                             Case No. 2:22-cv-06185-FLA (RAOx)
12                            Plaintiff,
13                 v.                        ORDER GRANTING MOTION TO
14                                           CONSOLIDATE ACTIONS [DKT. 40]
       BACKGRID USA, INC., et al.,
15
                              Defendants.
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1            Before the court is Defendants The Grosby Group Inc. (“Grosby”) and
2      BackGrid USA, Inc.’s (“BackGrid”) (collectively, “Defendants”) Motion to
3      Consolidate (“Motion”) Dkt. 40 (“Mot.”). Defendants request the court consolidate
4      the subject action, Case No. 2:23-cv-00776-FLA (RAOx), with the action styled
5      Robert Guillory v. EHM Productions, Inc., Case No. 2:22-cv-06185-FLA (RAOx).
6      Id. at 1. Plaintiff Robert Guillory (“Plaintiff”) opposes the Motion. Dkts. 41
7      (“Opp’n”). Defendants filed a reply. Dkt. 42 (“Reply”). Defendant EHM
8      Productions, Inc. (“EHM”) does not object to the consolidation of the actions. Case
9      No. 2:22-cv-06185-FLA (RAOx), Dkt. 36. On August 8, 2023, the court found this
10     matter appropriate for resolution without oral argument and vacated the hearing set for
11     August 11, 2023. Dkt. 49; see Fed. R. Civ. P. 78(b); Local Rule 7-15.
12           Fed. R. Civ. P. 42(a) (“Rule 42(a)”) allows consolidation of “actions involving
13     a common question of law or fact.” Actions need not be identical prior to
14     consolidation under Rule 42(a). Takeda v. Turbodyne Techs., Inc., 67 F. Supp. 2d
15     1129, 1133 (C.D. Cal 1999). District courts have broad discretion under Rule 42(a) to
16     consolidate cases pending in the same district, Garity v. APWU National Labor Org.,
17     828 F.3d 848, 855-56 (9th Cir. 2016), and may consolidate cases sua sponte, In re
18     Adams Apple, Inc., 829 F.2d 1484, 1487 (9th Cir. 1987). In determining whether to
19     consolidate actions, “a court weighs the interest in judicial convenience against the
20     potential for delay, confusion, and prejudice caused by consolidation.” Paxonet
21     Commc’ns, Inc. v. TranSwitch Corp., 303 F. Supp. 2d 1027, 1028 (N.D. Cal. 2003).
22           Here, the court finds the actions at issue meet this standard. Plaintiff brought
23     two actions against three defendants—Grosby, Backgrid, and EHM Productions, Inc.
24     (“EHM”)—alleging copyright infringement of photographs taken from a series of
25     photographs registered with the United States Copyright Office under Registration
26     No. VA 2-289-987 on January 19, 2022, and supplemented under Registration No.
27     VA 2-302-339. Case No. 2:23-cv-00776-FLA (RAOx), Dkt. 1 ¶¶ 24-27. Not only do
28     the two actions involve photographs from the same copyright registration, it is

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1      undisputed that the three defendants constitute a single chain of distribution for these
2      photographs. See Opp’n at 2-3. Although the actions are not identical, as Plaintiff
3      pleads EHM committed additional acts of infringement, these two actions clearly
4      share and are centered around common questions of law and fact. See Takeda, 67 F.
5      Supp. at 1133. Consolidation, therefore, will be more efficient than trying each action
6      separately and will result in little prejudice1 or delay2 to the parties.
7            Given the overlapping questions of law and fact, the court GRANTS the Motion
8      (Dkt. 40) and CONSOLIDATES the two actions for all purposes including, but not
9      limited to, discovery, pretrial proceedings, and trial. The pretrial and trial dates and
10     deadlines currently set in Case No. 2:23-cv-00776-FLA (RAOx) shall govern the
11     consolidated cases. No further filings shall be made or accepted in Case No. 2:23-cv-
12     00776-FLA (RAOx) action, and that action shall be administratively closed. All
13     documents filed therein shall maintain their legal relevance. Any future filings related
14     to either of these actions shall be made in the lead case, Case No. 2:22-cv-06185-FLA
15     (RAOx).
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17           IT IS SO ORDERED.
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19     Dated: September 5, 2023
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                                                      ______________________________
21                                                    FERNANDO L. AENLLE-ROCHA
22                                                    United States District Judge

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24       Plaintiff additionally opposes the Motion on the grounds that Defendants have filed a
       motion to disqualify counsel in Case No. 2:23-cv-00766-FLA (RAOx). The court
25     finds the pending motion to disqualify and Plaintiff’s potential need to retain new
26     counsel do not establish sufficient prejudice to warrant denial of the Motion.
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27      The fact discovery cut-off in Case No. 2:23-cv-00776-FLA (RAOx) is January 26,
       2024. Fact discovery only closed recently in Case No. 2:22-cv-06185-FLA (RAOx)
28     on August 11, 2023.
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